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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         :
                                                 :
                  v.                             :       CRIMINAL NO. 21-cr-399 (RDM)
                                                 :
ROMAN STERLINGOV,                                :
                                                 :
                          Defendant.             :


                           JOINT STATUS REPORT AND MOTION
                       TO EXCLUDE TIME UNDER SPEEDY TRIAL ACT

         The United States of America, by and through the United States Attorney for the District

of Columbia, and the Defendant, by and through his counsel, respectfully submit the following

Joint Status Report and proposed scheduling order in response to the Court’s June 9, 2022 Minute

Order.

         1.       As discussed on the record during the June 9, 2022 Status Conference and pursuant

to the Court’s June 9, 2022 Minute Order, the parties conferred regarding estimated trial length

and pretrial deadlines. The parties jointly propose the following trial and pretrial schedule, subject

to the Court’s availability:

                  a. Jury trial to commence on January 4, 2023. The parties estimate that the trial

                       will require 3-4 weeks, inclusive of any defense case.

                  b. Pretrial conference: December 1, 2022.

                  c. Joint Pretrial Statement due: November 21, 2022.

                  d. Motions in limine:

                           i. Motions in limine due: October 24, 2022.

                          ii. Oppositions due: November 7, 2022.

                         iii. Replies in support due: November 14, 2022.
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                e. Substantive motions other than motions in limine, including motions to dismiss

                   and motions to suppress:

                        i. Motions and opening briefs due: August 1, 2022.

                       ii. Oppositions due: August 29, 2022.

                      iii. Replies in support due: September 7, 2022.

                      iv. The parties anticipate that any motions hearing may be scheduled as

                           needed at a time convenient to the Court and parties depending on the

                           motions filed.

       2.       The government further moves, pursuant to 18 U.S.C. § 3161(h)(7)(A), to exclude

time under the Speedy Trial Act in the interests of justice from June 30, 2022 until the date

ultimately selected by this Court for trial pursuant to the attached proposed scheduling order. This

additional period is necessary for defense counsel to fully review the voluminous and complex

discovery in the case and to adequately prepare for trial, and to allow the parties to engage in

discussions regarding possible resolutions of the case short of trial. Therefore, the government

respectfully submits that the ends of justice served by such exclusion would outweigh the best

interest of the public and the defendant in a speedy trial.

       3.       Counsel for the government has conferred with defense counsel regarding this

motion. Defense counsel does not object to the motion or to exclusion of time under the Speedy

Trial Act.

       WHEREFORE, the parties respectfully request that the Court enter the attached scheduling

order, and that the time from June 30, 2022 until the date ultimately selected by this Court for trial

be excluded from computation under the Speedy Trial Act.




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                           Respectfully submitted,

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